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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

    SYMBOLOGY INNOVATIONS LLC                        §
                                                     §
           Plaintiff,                                §       CIVIL ACTION NO.
                                                     §     6:16-cv-02202-GAP-KRS
    v.                                               §    JURY TRIAL DEMANDED
                                                     §
    MATTEL, INC.                                     §            LEAD CASE:
                                                     §      6:16-cv-02197-PGB-KRS
                                                     §
           Defendant.                                §

                             JOINT MOTION FOR DISMISSAL

           Plaintiff Symbology Innovations LLC and Defendant Mattel, Inc. pursuant to Fed.

    R. Civ. P. 41 (a), hereby move for an order dismissing all claims by Plaintiff against

    Defendant with prejudice and counterclaims by Defendant against Plaintiff without

    prejudice, with each party to bear its own costs, expenses and attorney’s fees.

    RESPECTFULLY SUBMITTED.



     Dated: August 10, 2017                     Respectfully Submitted,

                                                By: /s/Sonia Colon
                                                Sonia Colon
                                                USDC No. 0050475
                                                Ferraiuoli LLC
                                                Bank of America Bldg.
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                                                Suite 2300
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                                                Symbology Innovations LLC
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                                                     /s/ Eleanor T. Barnett
                                                     Eleanor T. Barnett
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                                                     COUNSEL FOR DEFENDANT
                                                     Mattel, Inc.




                                 CERTIFICATE OF SERVICE

           I HEREBY CERIFY that on the 10th day of August, 2017, I electronically filed the

    foregoing with the Clerk of the Court using the CM/ECF system, which will send a Notice

    of Electronic Filing to all counsel of record.

                                                         /s/ Sonia Colon
                                                         Sonia Colon




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